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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

Plaintiff

v.

TINA PETERSON,

Defendant.                                         No. 06-CR-30138-DRH

                                     ORDER


HERNDON, District Judge:

             Before the Court is a motion submitted by Attorney John D. Stobbs II

— attorney for Defendant Tina Peterson — to withdraw in this case due to a potential

conflict of interest. (Doc. 142.) Being fully advised in the premises, the Court

GRANTS Attorney Stobbs’ motion. (Doc. 142.) Further, the Court notes that

Attorney Stephen R. Welby entered his appearance for Defendant Tina Peterson on

November 20, 2006 .

             IT IS SO ORDERED.

             Signed this 27th day of November, 2006.



                                             /s/      David RHerndon
                                             United States District Judge
